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                        UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

DR. THOMAS HUBBARD, PhD.                              §
  Plaintiff,                                          §
                                                      §
v.                                                    §               CA NO. 1:20-cv-00767-RP
                                                      §
SARAH ALLEN BLAKEMORE; and                            §               JURY DEMANDED
JOHN DOES 1 – 10,                                     §
  Defendants.                                         §

     Defendant Sarah Allen Blakemore’s Motion for Leave to Supplement
                Defendant’s Motion for Summary Judgment
       Sarah Allen Blakemore (“Defendant” or “Blakemore”) files this Motion for Leave to

Supplement Defendant’s Motion for Summary Judgment. In support, Blakemore would

respectfully show the court as follows:


1.     Blakemore has discovered new evidence that came to light following the filing of the

Motion for Summary Judgment that further supports her position that the statements at issue in the

flyer are well-reasoned opinions and not actionable under defamation. Hubbard has complained

that he has been unfairly characterized in the flyer as an advocate for pederasty and pederasts, but

has admitted as much in a letter written to a fellow professor of classics that was authored after the

Motion for Summary Judgment was filed. Blakemore therefore requests this Court grant leave to

allow this motion to be included in supplementation to the pending Motion for Summary Judgment

and allow the attached exhibit to be included as Exhibit I. This Court is authorized under Fed. R.

Civ. P. 56(f) to grant summary judgment independent of the motion and is therefore authorized to

grant the requested supplementation.

2.     Blakemore filed her Motion for Summary Judgment on September 9, 2020. Hubbard filed

his response on September 23, 2020 and Blakemore’s reply was filed September 30, 2020. On
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October 7, 2020, Hubbard sent a letter on University of Texas at Austin letterhead to Prof. Liv

Yarrow, an Associate Professor of Classics at Brooklyn College and the Graduate Center of the

City University of New York.

3.       In this letter, Hubbard came to the defense of the “documented pedophiles” featured in a

critical blog post by Prof. Yarrow 1, taking great umbrage to Prof. Yarrow’s attempt to draw

attention to scholars in their field who have been convicted of sexual offenses involving minors.

For purposes of context, Prof. Yarrow explained in her blog entry that she had been removing

translations and materials written by controversial figures from her sexuality and gender class so

that her students would not feel compelled to “read about child sex in the ancient world from those

either convicted of child sex crimes” or who are alleged to “dispute the need for laws that seek to

protect children from such crimes.” She also noted that Hubbard is involved in the present

controversy and that he is on record as believing that “child-sex (or at least boy-sex) should be

decriminalized”, but in his response Hubbard did not limit himself to defending his own reputation

and instead devoted several pages to protecting his peers from what he perceived as an unfair

attack notwithstanding their convictions for sexual offenses involving minors.

4.       This blog entry and Hubbard’s response are significant for many reasons relevant to the

pending Motion for Summary Judgment. His histrionics in response to Prof. Yarrow identifying

convicted pedophiles is telling, in that this sort of behavior is precisely what informed Blakemore’s

opinions when she concluded that, in her opinion, he is an apologist for pedophiles. In defense of

Andrew Dyck, a UCLA classics professor who pleaded guilty after sending pornographic images

and engaging in sexual exchanges over the internet with a 13-year-old, Hubbard speculated that



1
  The blog entry was revised following an extortionate demand by Hubbard, who threatened to include her in this
lawsuit along with the still yet-to-be identified “John Does” if she did not yield to his demands. The revised version
is available at https://livyarrow.org/2020/09/29/on-controversies-and-classics/.

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the conversation with this child did not turn sexual “before a police agent provocateur began

impersonating [the minor] and leading [Dyck] on.” On the subject of his colleagues who were

convicted of possessing child pornography, Hubbard defended their possession of these illegal

images by arguing that “there is no causal connection between possession of these images and

commission of actual illegal acts upon children” and proceeded to argue at length that access to

child pornography actually reduces harm to children.

5.     Hubbard’s full-throated defense of these convicted sex offenders is consistent with the

troubling material in his writings and lectures that contributed to the development of Blakemore’s

opinions that he is an advocate for men who engage in sexual conversations with minors and posses

child pornography. In the letter, Hubbard admits as much. He states that his “interest has also been

influenced by my social justice activism on behalf of GLBTQ prisoners” which he describes as

victims of “disproportionate enforcement of statutory rape laws, especially in cases involving

consensual relationships with teenagers. . .” In other words, he is literally an advocate on behalf of

men convicted of having sex with minors, i.e. an advocate for pederasts. Hubbard concludes his

letter by urging Prof. Yarrow to “leave the social justice activism to those of us who actually know

what we are talking about and are working in tangible ways to reduce the harm done to our

communities by paternalistic/patriarchal legal codes and a hypertrophied carceral state.”

6.     This letter is therefore significant in that it further demonstrates that Blakemore’s

characterization of Hubbard as an advocate for pederasty is an opinion informed by his own

admitted advocacy on behalf of pederasts. It is doubly significant in that this dispute with a fellow

professor of Classics reveals that Blakemore is not alone in developing these opinions and they

are just that—opinions.




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7.     As previously mentioned, Prof. Yarrow’s blog post was an extension of a process of culling

from her curriculum objectionable scholars whose work, irrespective of any scholarly merit it may

possess, she did not wish to force upon her students due to the deplorable conduct of its authors.

It was no accident that Prof. Yarrow happened to mention Hubbard and the present controversy in

this blog post. Her reference to Hubbard can be read as an indictment of his fetishistic fixation on

Greek pederasty, a subject he exposes his students to even though it is outside the scope of what

he has been tasked with teaching. That is not to say that this subject-matter is itself objectionable

if presented by a neutral scholar, but in Blakemore’s opinion, based on her review of Hubbard’s

writings and her direct experience with him, he is not merely teaching about practices in antiquity

but is advocating that those practices should be permitted in the present through revision of

statutory rape laws. The fact that one of Hubbard’s peers in academia has expressed her own

concerns about Hubbard and his crusade against statutory rape laws further emphasizes that this is

a controversial subject upon which different individuals will draw different conclusions and that

it falls therefore within the realm of opinion rather than fact. In Blakemore’s opinion, Hubbard’s

conduct qualifies him as an advocate in support of eliminating laws that protect children from

sexual abuse and it appears this is an opinion shared by other classical professors and not just what

Hubbard considers nothing more than a naïve and “privileged sorority girl and aspiring model.”

8.     Fed. R. Civ. P. 56(f) provides that “after giving notice and a reasonable time to respond,”

the Court may grant summary judgment independent of the motion. The Court is therefore fully

authorized to consider the letter to Prof. Yarrow in supplementation to the previously submitted

summary judgment exhibits and may grant summary judgment with the benefit of this additional

evidence. Blakemore therefore respectfully requests this Court grant leave to include this newly

discovered evidence in the summary judgment record, incorporate this motion into the Motion for



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Summary Judgment, and afford Hubbard a reasonable opportunity to respond after notice has been

provided that this supplemental exhibit will be accepted as Exhibit I to Blakemore’s Motion for

Summary Judgment.

                                           Respectfully Submitted,

                                           HOOVER SLOVACEK LLP

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                               CERTIFICATE OF SERVICE

        I hereby certify that on this 21st day of October 2020, a true and correct copy has been
electronically filed on the CM/ECF system, which will automatically serve a Notice of Electronic
Filing on the following attorney of record:

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